Dr. Arthur L. Mallory Commissioner, Department of Elementary and Secondary Education Jefferson State Office Building Jefferson City, Missouri 65101
Dear Dr. Mallory:
We have reviewed the Missouri State Board of Education's "Fiscal Year 1978 State Plan for Vocational Rehabilitation Services under Title I of the Rehabilitation Act of 1973, as amended." Our review has taken into consideration the Rehabilitation Act of 1973, as amended, 29 U.S.C. § 701, et seq., and the regulations promulgated pursuant thereto, 45 C.F.R. §§ 1361, et seq. In addition, we have taken into consideration Article III, Section 38(a), Missouri Constitution; Chapter 161, RSMo 1969, as amended RSMo Supp. 1975; and Section 178.610, RSMo 1969.
Based on the foregoing, we hereby certify that the Missouri State Board of Education is the state agency administering or supervising the administration of education and vocational education in the state of Missouri and is, therefore, qualified to be "the sole State agency to administer the State plan, or to supervise its administration in a political subdivision of the State by a sole local agency . . ." in accordance with 45 C.F.R. § 1361.6
Very truly yours,
                                  JOHN ASHCROFT Attorney General